
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 27th of March 2018 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 24th of October 2018."
Upon consideration of the petition filed on the 27th of March 2018 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th of October 2018."
